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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA


DESARAE SURRATT,

              Plaintiff,
        v.                                       Case No.: 0:19-cv-02833-PAM-HB

ADT LLC of Delaware, d/b/a ADT
SECURITY SERVICES,

              Defendant.


                            DEFENDANT’S MOTION TO STAY

        Defendant ADT LLC of Delaware d/b/a ADT Security Services (“ADT”), by and

through its attorneys, hereby moves this Court for an Order staying this litigation until the

Federal Communications Commission issues its forthcoming rulings arising out of

several Telephone Consumer Protection Act-related Public Notices that it issued sua

sponte in mid- and late-2018 regarding several issues that likely will be dispositive in this

case.

        ADT’s Motion is made both pursuant to the doctrine of primary jurisdiction and

the Court’s inherent power to control its docket, and is based on the accompanying

Memorandum of Law, all of the files, records, and proceedings herein, such evidence and

argument as may be presented to the Court, and all matters of which the Court may take

judicial notice.




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Dated: November 26, 2019                Respectfully submitted,

                                        /s/ David J. Koob
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                                        Attorneys for Defendant ADT LLC of Delaware
                                        d/b/a ADT Security Services

                           CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of November, 2019, I have electronically
filed a copy of the foregoing Defendant’s Motion to Stay using the CM/ECF system,
which automatically sends an electronic notification to all counsel of record and other
CM/ECF participants duly registered to receive service of filings in this case.

                                              /s/ David J. Koob
                                              David J. Koob

                                              Attorneys for Defendant ADT LLC of
                                              Delaware d/b/a ADT Security Services




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